
100 N.Y.2d 558 (2003)
BURNELL G. CARNEY et al., by L. DAVID ZUBE, Chapter 11 Trustee, Appellants,
v.
JAMES V. PHILIPPONE, Respondent.
Court of Appeals of the State of New York.
Decided June 26, 2003.
Concur: Chief Judge KAYE and Judges SMITH, CIPARICK, ROSENBLATT, GRAFFEO and READ.
*559 Certification of questions by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
